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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF TEXAS
HOUSTON DIVISION

SECURITIES AND EXCHANGE
COMMISSION,

Plaintiff,
Vv.

CIVIL ACTION NO. H-11-1932

DAVID GORDON WALLACE, JR.,
and COSTA BAJJALI,

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Defendants.
ORDER TO CLOSE CASE

This case was concluded by two Agreed Final Judgments signed
May 24, 2011 but, because the Court retained jurisdiction for
purposes of enforcing the terms of the judgments, if necessary, the
case file was not closed. It is therefore

ORDERED that this case file be CLOSED, with the understanding
that if a party moves to enforce the foregoing Agreed Final
Judgments, it should file a motion for such under this cause number
and attach a copy of this Order thereto.

The Clerk will enter this Order, providing a correct copy to
all parties of record.

SIGNED at Houston, Texas, on this Lay of August, 2013.

    

WERLEIN, JR.
UNITED MWTATES DISTRICT JUDGE

 

 
